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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-2502-RM-NYW

  MARY BENSON,

           Plaintiff,

  v.

  STATE FARM MUTUAL AUTOMOBILE INSURANCE,

           Defendant.


                                         MINUTE ORDER

  Magistrate Judge Nina Y. Wang

           This civil action is before the court on Defendant State Farm Mutual Automobile Insurance

  Company’s (“Defendant” or “State Farm”) Motion to Compel Response to Subpoena to Produce

  to Nonparty Genesis Eldercare Physician Services, Inc. (“Motion to Compel”) [#18, filed February

  12, 2020]. The undersigned considers the Motion pursuant to 28 U.S.C. § 636(b), the Order

  Referring Case dated November 1, 2019 [#12], and the Memorandum dated February 13, 2020

  [#19].

           In the instant Motion, State Farm avers that it personally served on non-party Genesis

  Eldercare Physician Services, Inc.’s (“Genesis”) Colorado registered agent a subpoena to produce

  all of Genesis’s employment records concerning Plaintiff Mary Benson (“Plaintiff” or “Ms.

  Benson”) on December 11, 2019. [#18 at 2; #18-1; #18-2]. Pursuant to the subpoena, Genesis

  was required to respond—or produce responsive documents—thereto by December 26, 2020. [#18

  at 3]. To date, Genesis has not responded to the subpoena in any form. [Id.]. Thus, State Farm
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  seeks an order from this court compelling Genesis to respond to the subpoena pursuant to Federal

  Rules of Civil Procedure 37(a)(1) and 45(d)(2)(B)(i). See [id.].

         State Farm filed the instant Motion on February 12, 2020 and thus, the deadline for non-

  party Genesis to respond to State Farm’s Motion to Compel is March 5, 2020.                 See

  D.C.COLO.LCivR 7.1(d). Genesis’s failure to respond to the instant Motion will be deemed

  an admission of the arguments raised therein.

         IT IS ORDERED that:

     1. Non-party Genesis Eldercare Physician Services, Inc. shall respond to State Farm’s Motion
        to Compel Response to Subpoena to Produce to Nonparty Genesis Eldercare Physician
        Services, Inc. [#18] on or before March 5, 2020; and

     2. Defendant State Farm Mutual Insurance Company shall serve a copy of this Minute Order
        on Genesis’s Colorado registered agent at the following:

                                Genesis Eldercare Physician Services, Inc.
                                c/o Registered Agent Corporation Service Agency
                                1900 West Littleton Blvd.
                                Littleton, Colorado 80120



  DATED: February 19, 2020                             BY THE COURT:



                                                       _________________________
                                                       United States Magistrate Judge




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